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 1   NICOLA T. HANNA
     United States Attorney
 2   LAWRENCE S. MIDDLETON
     Assistant United States Attorney
 3   Chief, Criminal Division
     Joseph D. Axelrad (Cal. Bar No. 274580)
 4   Jeffrey M. Chemerinsky (Cal. Bar No. 270756)
     Assistant United States Attorney
 5   Violent and Organized Crime Section
          1300 United States Courthouse
 6        312 North Spring Street
          Los Angeles, California 90012
 7        Telephone: (213) 894-7964/6520
          Facsimile: (213) 894-0141
 8        E-mail:     joseph.axelrad@usdoj.gov
                      jeffrey.chemerinsky@usdoj.gov
 9
     Attorneys for Applicant
10   UNITED STATES OF AMERICA

11                           UNITED STATES DISTRICT COURT

12                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,                No. CR 14-328-CAS-1

14                     Plaintiff,             GOVERNMENT’S AMENDED SENTENCING
                                              POSITION
15              v.
                                              Date:            April 23, 2019
16   DOMINIC DORSEY,

17                     Defendant.

18

19         Plaintiff United States of America, by and through its counsel
20   of record, the United States Attorney for the Central District of
21   California, hereby submits its amended position with respect to
22   sentencing for defendant Dominic Dorsey.
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 1         The government’s position is based on the attached memorandum of

 2   points and authorities, the files and records in this case, and such

 3   additional evidence and argument as may be presented at the hearing

 4   on this matter.

 5    Dated:   April 8, 2019               Respectfully submitted,

 6                                         NICOLA T. HANNA
                                           United States Attorney
 7
                                           LAWRENCE S. MIDDLETON
 8                                         Assistant United States Attorney
                                           Chief, Criminal Division
 9

10                                         /s/
                                           JEFFREY M. CHEMERINSKY
11                                         JOSEPH D. AXELRAD
                                           Assistant United States Attorneys
12
                                           Attorneys for Plaintiff
13                                         UNITED STATES OF AMERICA

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 1                       MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.    INTRODUCTION
 3         Defendant Dominic Dorsey (“defendant”) engaged in a violent

 4   spree of armed robberies that terrorized numerous innocent

 5   individuals.    In August 2016, defendant was convicted at trial of 11

 6   counts stemming from this armed robbery conspiracy, namely, one count

 7   of conspiracy to interfere with commerce by robbery (18 U.S.C.

 8   § 1951(a)), five counts of interference with commerce by robbery (18

 9   U.S.C. § 1951(a)), and five counts of brandishing a firearm during a

10   crime of violence (18 U.S.C. § 924(c)(1)(A)(ii).          The evidence at

11   trial proved defendant committed at least eight armed robberies.

12         Defendant’s five 924(c) convictions result in a mandatory prison

13   sentence of 35 years’ imprisonment,1 which must run consecutive to

14   the sentence imposed pursuant to the Sentencing Guidelines.            The

15   United States Probation Office’s (“Probation”) calculated defendant’s

16   Guidelines as a level 30 and that defendant’s Criminal History

17   Category is III.     The government believes defendant’s Guidelines is

18   actually a level 33.      This results in an advisory Guidelines range of

19   168 to 210 months’ imprisonment.

20         The government respectfully recommends a total term of 49 years’

21   imprisonment, comprised of 35 years imprisonment for the 924(c)

22   counts to run consecutive to a low-end Guidelines sentence of 168

23   months (14 years).     The government believes such a sentence is

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           1At the time of defendant’s conviction, the five 924(c)
26   convictions required a mandatory sentence of 107 years. However,
     because Congress has passed the First Step Act this mandatory time is
27   reduced to 35 years. Prior to the passage of the First Step Act, the
     government filed a sentencing memorandum in this matter. (CR 300.)
28   This amended sentencing memorandum accounts for the changes from the
     First Step Act.
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 1   sufficient but not greater than necessary to accomplish the goals set

 2   forth in 18 U.S.C. § 3553(a).

 3   II.   STATEMENT OF FACTS
 4         A summary of the relevant facts are set forth in the Presentence

 5   Investigation Report (“PSR”), paragraphs 13-20.          Defendant and co-

 6   defendant Reginald Bailey committed a spree of armed robberies,

 7   targeting convenience stores and one bank.         The robberies terrorized

 8   and instilled great fear in the employees of the targeted locations.

 9   During the trial in this matter, the Court heard from many of these

10   employees, many of whom remain scarred by the impact of the

11   robberies.

12   III. RESPONSE TO THE PRESENTENCE INVESTIGATION REPORT
13         A.     Probation’s Guidelines Calculation
14         Probation concluded that defendant has a total offense level of

15   30.   PSR, ¶ 17.    This calculation is based on the following:

16         Base offense (U.S.S.G. § 2B3.1)                     20

17         Firearm used (U.S.S.G. § 2B3.1)                     +5

18         Multi-Count Adjustment (U.S.S.G. § 3D1.4)           +5

19         Total Offense Level                                 30

20         B.     Government Response
21         The government respectfully objects to the calculations and

22   believes that defendant’s total offense is a level 33.

23         First, the government believes that the adjusted offense level

24   for groups 6 (PSR ¶¶ 64-69), 7 (PSR ¶¶ 70-75), and 8 (PSR ¶¶ 76-81)

25   should be a level 26, rather than the level 25 recommended by

26   Probation.    In each of these robberies, the robbers pointed the gun

27   at the employees and actively used the gun to control the employees.

28   Under the Guidelines, this should result in a +6 for firearm

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 1   “otherwise used”, pursuant to U.S.S.G. § 2B3.1(b)(2)(B).            Application

 2   Note 1(I) to U.S.S.G. § 1B1.1 defines “otherwise used” to mean that

 3   the conduct did not amount to the discharge of a firearm but was more

 4   than brandishing, displaying, or possessing a firearm.            The

 5   government believes this is appropriate under the facts of this case.

 6   See United States v. Albritton, 622 F.3d 1104 (9th Cir. 2010)

 7   (holding the “otherwise used” enhancement was appropriate where the

 8   “[defendant] pointed the pistol directly at the teller and ordered

 9   her ‘Down, Down!’ In addition, [defendant specifically leveled the

10   weapon at loan officer Zeiss in directing her across the room.”).

11   This would make the highest offense level a 26, to which a further +5

12   is applied pursuant to the multi-count adjustment, thereby resulting

13   in an offense level of 31.

14         In addition, defendant committed perjury when he took the stand

15   and lied about his commission of the robberies.          For example,

16   defendant Dorsey lied about his association with co-defendant Bailey

17   (Tr. 7-21-16, at 172-75), the presence of his car at a robbery (id.

18   at 181-83), about Bailey’s presence at a robbery location (id. at

19   183), about traveling from Bakersfield to Los Angeles without Bailey

20   (Tr. 7-22-16), about using Bailey’s phone (id. at 13-14), and about

21   having ever been to the Citibank in Glendale, California (id. at 20).

22         Defendant’s perjury subjects him to a +2 enhancement under

23   U.S.S.G. § 3C1.1.     Defendant provided numerous material lies during

24   the course of his testimony.       In the Ninth Circuit, “[f]or perjury to

25   be deemed obstruction, the district court must find that: “(1) the

26   defendant gave false testimony, (2) on a material matter, (3) with

27   willful intent.”     United States v. Castro-Ponce, 770 F.3d 819, 822

28   (9th Cir. 2014).     The application of such an enhancement requires an

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 1   express finding as to all three elements.         Id.   A perjury finding is

 2   warranted given the nature of defendant’s testimony.

 3         C.    Criminal History Calculation
 4         Probation concluded that defendant has 5 criminal history

 5   points, resulting in Criminal History Category III.           PSR, ¶ 102.       The

 6   government agrees with this calculation.

 7         D.    Resulting Guidelines Range
 8         With a total offense of 33 and Criminal History Category of III,

 9   the resulting Guidelines’ range is 168 to 210 months’ imprisonment.

10         Based on the five 924(c) convictions defendant is subject to

11   mandatory sentence of 35 years’ imprisonment, which must run

12   consecutive the Guidelines.

13         The government agrees with Probation’s restitution calculation

14   of $58,753.

15   IV.   Analysis of § 3553(a) Factors
16          “All sentencing proceedings are to begin by determining the

17   applicable Guidelines range,” which serves as “the starting point and

18   the initial benchmark” for determining a reasonable sentence.             United

19   States v. Carty, 520 F.3d 984, 991 (9th Cir. 2008) (internal

20   quotation marks and citation omitted).         The parties should then be

21   given an opportunity to argue for what they believe is an appropriate

22   sentence.    Id.   Following argument by the parties, the Court must

23   consider each of the sentencing factors listed in 18 U.S.C.

24   § 3553(a), including the applicable Guidelines range, “to decide if

25   [those factors] support the sentence suggested by the parties.”             Id.;

26   see also Gall v. United States, 552 U.S. 38, 49 (2007).            In the end,

27   the Court must impose a sentence that is “sufficient, but not greater

28   than necessary,” to reflect the offense’s seriousness, to promote

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 1   respect for the law, and to provide just punishment; to afford

 2   adequate deterrence; to protect the public; and to provide the

 3   defendant with needed educational or vocational training, medical

 4   care, or other correctional treatment.         See 18 U.S.C. § 3353(a);

 5   Carty, 520 F.3d at 991.

 6         The government submits that the requested sentence is

 7   appropriate under the circumstances.         The violent, terroristic nature

 8   of defendant’s criminal conduct cannot be overstated.           Defendant and

 9   his co-defendant repeatedly brandished and used a firearm to control

10   and instill fear in innocent civilians in order to steal from them

11   and their businesses.      These crimes terrorized the businesses’

12   employees and customers.      These crimes have a lasting impact of

13   emotional trauma on the victims.

14         Defendant’s pattern of criminal conduct extremely serious,

15   demonstrates a lack of complete respect for the law, and endangers

16   the safety of the community.       Defendant’s crimes could have easily

17   ended with an innocent civilian being wounded or killed.

18         The severe punishment requested serves the purposes of general

19   deterrence.    The sentence makes clear that gun crimes cannot be

20   tolerated and that those who use firearms to terrorize and steal from

21   others will face harsh punishment.          The additional enhancement

22   applied for perjury also appropriately penalizes defendant for his

23   false statement under oath during trial.

24         This is not defendant’s first criminal case.           Defendant was

25   previously convicted of possession of cocaine, assault with a deadly

26   weapon, and ammunition prohibition.         PSR, ¶¶ 97-99.    In addition,

27   defendant has been arrested approximately 10 additional times for

28   crimes including 1st degree murder, theft, pimping, and supervising

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 1   prostitution.    PSR, ¶¶ 105-14.     Defendant engaged in the robbery

 2   conspiracy in this case while subject to a term of probation.             PSR

 3   ¶ 101.

 4         The recommended sentence will also “avoid unwarranted sentence

 5   disparities among defendants with similar records who have been found

 6   guilty of similar conduct.”       18 U.S.C. § 3553(a)(6).      Because the

 7   Sentencing Guidelines exist to ensure national uniformity in

 8   sentencing, a sentence within the applicable Guidelines’ range

 9   ordinarily avoids disparity between similarly situated defendants.

10   See Gall v. United States, 552 U.S. 38, 54 (2007).           The Court is

11   entitled to rely on a correctly calculated Guidelines range in

12   finding that there is no unwarranted disparity between defendant and

13   other offenders convicted of similar offenses.          United States v.

14   Treadwell, 593 F.3d 990, 1011 (9th Cir. 2010).          The requested

15   sentence for defendant is greater than his co-defendant, which is

16   appropriate given defendant’s perjury during trial and more recent

17   higher criminal history.

18         The requested sentence is also consistent with Congress’s intent

19   in passing the mandatory minimums for 924(c) counts, which was to

20   “punish severely criminals who use guns while committing violent

21   crimes.”    United States v. Dorsey, 677 F.3d 944 (9th Cir. 2012).

22   V.    CONCLUSION
23         For the foregoing reasons, the government respectfully requests

24   that the Court sentence defendant to 49 years, comprised of 35 years’

25   imprisonment on the 924(c) counts to run consecutive to a term of 14

26   years’ imprisonment under the Guidelines.         In addition, the

27   government respectfully request the Court order defendant to serve

28   five years of supervised release, no fine, and a mandatory special

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 1   assessment of $1100.      Finally, the government agrees with the

 2   restitution request set forth by Probation.

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